     Case 2:20-cv-01976-APG-EJY Document 3 Filed 10/27/20 Page 1 of 2




 1                                  UNITED STATES DISTRICT COURT
 2                                          DISTRICT OF NEVADA
 3                                                   ***
 4   STEPHEN M. SEELING, et al.,                                Case No.: 2:20-cv-01976-APG-EJY
 5                    Plaintiffs,
                                                                              ORDER
 6            v.
 7   OLD VEGAS MANOR AND ESTATES
     HOMEOWNERS ASSOCIATION, et al.,
 8
                      Defendants.
 9

10

11           On October 26, 2020, Plaintiffs, proceeding pro se, filed a Complaint, Declaration, Civil
12   Cover Sheet, and proposed Summonses (ECF Nos. 1-1, 1-2, 1-3, and 1-4, respectively) with the
13   Clerk of the Court to commence a civil action in this Court.
14           Plaintiffs have neither paid the $400 filing fee for this matter, nor has each Plaintiff filed an
15   application to proceed in forma pauperis, which each must do pursuant to 28 U.S.C. § 1915(a)(1)
16   and the U.S. District Court for the District of Nevada Local Rule LSR 1-1 if he/she wishes to proceed
17   without paying the mandatory filing fee. Local Rule LSR 1-1 states: “Any person who is unable to
18   prepay the fees in a civil case may apply to the court for leave to proceed in forma pauperis. The
19   application must be made on the form provided by the court and must include a financial affidavit
20   disclosing the applicant’s income, assets, expenses, and liabilities.”
21           The Court shall retain Plaintiffs’ Complaint (ECF No. 1-1), but the Court will not file the
22   Complaint unless and until Plaintiffs timely pay the $400 filing fee or each files a complete
23   application to proceed in forma pauperis.
24           Accordingly,
25           IT IS HEREBY ORDERED that the Clerk of Court shall retain Plaintiffs’ Complaint (ECF
26   No. 1-1) but will not file it at this time.
27

28
                                                       1
     Case 2:20-cv-01976-APG-EJY Document 3 Filed 10/27/20 Page 2 of 2




 1           IT IS FURTHER ORDERED that the Clerk of Court shall send each Plaintiff the approved

 2   application to proceed in forma pauperis by a non-prisoner form, as well as the document entitled

 3   information and instructions for filing an in forma pauperis application.

 4           IT IS FURTHER ORDERED that within thirty (30) court days from the date of this Order,

 5   (1) each Plaintiff shall file a fully complete application to proceed in forma pauperis, on the correct

 6   form, in compliance with 28 U.S.C. § 1915(a) and LSR 1-1; or (2) the Plaintiffs shall collectively

 7   pay the full $400 fee for filing a civil action (which includes the $350 filing fee and the $50

 8   administrative fee). Failure to comply with this Order may result in a recommendation to dismiss

 9   this case.

10           Dated this 27th day of October, 2020.

11

12

13                                                 ELAYNA J. YOUCHAH
                                                   UNITED STATES MAGISTRATE JUDGE
14

15

16

17

18
19

20

21

22

23

24

25

26

27

28
                                                      2
